21-11298-lgb         Doc 30      Filed 08/20/21 Entered 08/20/21 11:07:49      Main Document
                                              Pg 1 of 3



ROBINSON BROG LEINWAND GREENE
GENOVESE & GLUCK P.C.
875 Third Avenue
New York, New York 10022
Fred B. Ringel
Clement Yee
Attorneys for the Debtor and Debtor in
Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X

In re:                                                        Chapter 11

286 RIDER AVE ACQUISITION LLC,                                Case No: 21-11298-lgb

                                           Debtor.
----------------------------------------------------------X
                                      CERTIFICATE OF SERVICE
NATHANAEL F. MEYERS, hereby certifies under penalty of perjury:
         1. I am not a party to the action, am over 18 years of age and reside in
Hamilton, New Jersey.
         2. On the 19th day of August, 2021, I served true and correct copies of:

       • 286 Rider Ave Acquisition LLC’s (I) Response To Motion Of 286 Rider Ave
Development LLC To (A) Dismiss Bankruptcy Case Pursuant To 11 U.S.C. §§ 105,
305 And 1112, (B) For Turnover Of Certain Membership Interests Under 11 U.S.C.
§ 543 And (II) Joinder To Lender’s Response To The Motion To Dismiss [Doc. No.
26] (the “Response”);

      • Declaration Of Lee E. Buchwald In Support Of Debtor’s Response To
Motion Of 286 Rider Ave Development LLC To (I) Dismiss Bankruptcy Case
Pursuant To 11 U.S.C. §§ 105, 305 And 1112 And (II) For Turnover Of Certain
Membership Interests Under 11 U.S.C. § 543 [Doc. No. 27] (the “Declaration”); and

      • Objection To Motion Of 286 Rider Ave Development LLC Pursuant To
Federal Rule Of Bankruptcy Procedure 9023 And Federal Rule Of Civil Procedure
60 For Relief From Order Pursuant To Bankruptcy Rule 2004 Authorizing
Discovery Examinations Of (I) Toby Moskovits And (II) Michael Lichtenstein [Doc.
No. 28] (the “Objection”)




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21-11298-lgb        Doc 30   Filed 08/20/21 Entered 08/20/21 11:07:49   Main Document
                                          Pg 2 of 3



via email upon: mark.lichtenstein@akerman.com; joshua.bernstein@akerman.com;
greg.zipes@usdoj.gov; jmoldovan@morrisoncohen.com;
dkozlowski@morrisoncohen.com; bankruptcy@morrisoncohen.com;
USTPRegion02.NYECF@USDOJ.GOV.


        3. On the 19th day of August, 2021, I served true and correct copies of the
Response, the Declaration, and the Objection by First-Class Mail upon the attached
Service List by depositing true copies of same enclosed in pre-paid, properly
addressed wrappers in an official depository under the exclusive care and custody of
the United States Postal Service within the State of New York.

Dated: August 20, 2021
                                                 /s/ Nathanael F. Meyers
                                                 Nathanael F. Meyers




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21-11298-lgb        Doc 30   Filed 08/20/21 Entered 08/20/21 11:07:49   Main Document
                                          Pg 3 of 3



                                      SERVICE LIST

NYS Dept. Taxation & Finance
Bankruptcy/Special Procedures Section
P.O. Box 5300
Albany, NY 12205-0300

NYC Dept. of Finance
Office of Legal Affairs
375 Pearl Street, 30th Floor
New York, NY 10038

Internal Revenue Service
Centralized Insolvency Operations
P.O. Box 7346
Philadelphia, PA 19101-7346

United States Attorney’s Office
Southern District of New York
Attention: Tax & Bankruptcy Unit
86 Chambers Street, Third Floor
New York, NY 10007

U.S. Securities and Exchange Commission
New York Regional Office
Brookfield Place
200 Vesey Street, Suite 400
New York, NY 10281-1022

Fischer Makooi Architects
242 West 30th Street, Ste. 1102
New York, NY 1001

Titan Engineers PC
1331 Stuyvesant Ave.
Union, NJ 07083

Robert Newblatt
286 Rider Ave Realty LLC
286 Rider Avenue
Bronx, NY 10451




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